229 F.2d 742
    UNITED STATES of America, Appellant,v.Mrs. A. D. MOORE, alias Amelia D. Moore.
    No. 15476.
    United States Court of Appeals Eighth Circuit.
    December 12, 1955.
    
      Appeal from the United States District Court for the Eastern District of Arkansas.
      Osro Cobb, U. S. Atty., and G. Thomas Eisele, Asst. U. S. Atty., Little Rock, Ark., for appellant.
      Leon B. Catlett, Little Rock, Ark., for appellee.
      PER CURIAM.
    
    
      1
      Appeal from District Court dismissed, on motion of counsel for appellant.
    
    